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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

BENJAMIN WILKES                     )
                                    )
                                    )
            Plaintiff,              )     CASE NO. 4:12-cv-0047-JD-APR
                                    )
      v.                            )
                                    )
CAPITAL ONE BANK (USA),             )
NATIONAL ASSOCIATION                )
                                    )
                                    )
            Defendant.              )
________________________________________________________________________

                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Comes now Plaintiff Benjamin Wilkes, by Counsel, and comes now also Defendant

Capital One Bank (USA) National Association, by Counsel, and the parties stipulate and agree

that all issues regarding Plaintiff’s Complaint have been fully compromised and settled and that

Plaintiff’s Complaint as against Capital One Bank (USA) National Association, should be

dismissed with prejudice.

Dated: October 10, 2013

/s/ Melissa Wilkes
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